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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 IN RE:                          )
                                 )          CHAPTER 11
 DN REAL ESTATE SERVICES &       )
 ACQUISITIONS, LLC               )
            Debtor,              )          CASE NO.: 17-55587-pmb
 =====================================================================


      MOTION TO RECONSIDER ORDER CONVERTING CASE TO CHAPTER 7



          Comes now, DN REAL ESTATE SERVICES, LLC, Debtor in the above styled Chapter

 11 case, by and through undersigned counsel, and files this Motion to Reconsider Order

 Converting Case to Chapter 7 showing to this Honorable Court the following:



          1.    This Motion to Reconsider (this “Motion”) pursuant to Bankr. Rule 9023 which

 incorporates Fed. R.Civ.P. 59, and under Bankr. Local Rule 9023-1.

          2.    On May 31, 2018, this Court entered is Order Converting Case to Chapter 7 (the

 “Order”) (Doc. No. 118). The grounds for the Order were the late payment of quarterly fees to the

 United State Trustee, which fees were the subject of a Consent Order dated May 9, 2018 (Doc.

 No. 111). Debtor does not dispute that its payments were received after the May 21 deadline, but

 confirms that all payments were paid by May 25, 2018.

          3.    The grounds for this Motion are that the Debtor’s business affairs are already

 wound up, and all that remains in the Chapter 11 case is the disbursement of the funds held in the

 Debtor in Possession Account. Conversion will unnecessarily complicate, delay, and dilute the

 disbursement process to creditors.
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         4.      Debtor has filed a Disclosure Statement (Doc. No. 120) and Chapter 11 Plan of

 Liquidation (Doc. No. 119), on the same date as the Order. Upon confirmation of this Plan, the

 disbursement of funds will conclude and the case can be closed. The appointment and actions of

 a new Chapter 7 Trustee would be unnecessary and wasteful of funds that could otherwise be

 directed to the creditors.




         WHEREFORE, Debtor requests that the Court:

                 (1) hear and grant this Motion; and

                 (2) suspend the deadlines and actions by all parties otherwise pending in the Order

                     upon resolution of the Motion;

                 (3) grant any other relief that the Court deems just and appropriate.




         Dated this 8th day of June, 2018

                                                       Respectfully Submitted,

                                                       ________/s/________
                                                       Howard Slomka
                                                       GA Bar # 652875
                                                       Slipakoff & Slomka, P.C.
                                                       Attorney for Debtor
                                                       2859 Paces Ferry Road, Suite 1700
                                                       Atlanta, GA 30339
                                                       Tel. (404) 800-4001
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                      IN THE UNITED STATES BANKRUPTCY COURT
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 IN RE:                                       )
                                              )              CHAPTER 11
 DN REAL ESTATE SERVICES &                    )
 ACQUISITIONS, LLC                            )
           Debtor,                            )              CASE NO.: 17-55587-pmb
                                              )

                                      CERTIFICATE OF SERVICE

        This is to certify that I have this day served a copy of the within and foregoing Motion for
 Reconsideration in the above styled case by depositing same in the United States mail with the
 adequate postage affixed thereto to insure delivery addressed as follows:
          SEE ATTACHED LIST FOR CREDITORS

          Dated this 8th day of June, 2018

                                                      ________/s/________
                                                      Howard Slomka
                                                      GA Bar # 652875
                                                      Slipakoff & Slomka, P.C.
                                                      Attorney for Debtor
                                                      2859 Paces Ferry Road, SE
                                                      Suite 1700
                                                      Atlanta, GA 30339
                                                      Tel. (404)800-4001
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